19-50025-amk   Doc 107   FILED 01/27/21   ENTERED 01/27/21 13:10:51   Page 1 of 5
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19-50025-amk   Doc 107   FILED 01/27/21   ENTERED 01/27/21 13:10:51   Page 3 of 5
Label Matrix for local noticing                 PRA Receivables Management, LLC              455 John F. Seiberling Federal Building
0647-5                                          PO Box 41021                                 US Courthouse
Case 19-50025-amk                               Norfolk, VA 23541-1021                       2 South Main Street
Northern District of Ohio                                                                    Akron, OH 44308-1848
Akron
Tue Jan 26 17:15:24 EST 2021
Ally Financial                                  Atlantic Credit & Finance Inc                Barclay Card Services
PO Box 380901                                   PO Box 2083                                  PO Box 13337
Minneapolis, MN 55438-0901                      Warren MI 48090-2083                         Philadelphia, PA 19101-3337



Barclays Bank Delaware                          Bureaus Investment Group Portfolio 15, LLC   Bureaus Investment Group Portfolio No 15 LLC
PO Box 8803                                     650 Dundee Rd Ste 370                        c/o PRA Receivables Management, LLC
Wilmington, DE 19899-8803                       Northbrook IL 60062-2757                     PO Box 41021
                                                                                             Norfolk VA 23541-1021


Capital One Bank                                Capital One Bank (USA), N.A.                 Capital One Bank USA NA
PO Box 6492                                     by American InfoSource as agent              ATTN: General Correspondence
Carol Stream, IL 60197-6492                     PO Box 71083                                 PO Box 30285
                                                Charlotte, NC 28272-1083                     Salt Lake City, UT 84130-0285


Capital One Retail Services                     Client Services Inc                          Crown Asset Management LLC
PO Box 7680                                     3451 Harry S Truman Blvd                     3100 Breckenridge Blvd Ste 725
Carol Stream, IL 60116-7680                     St Charles MO 63301-9816                     Duluth GA 30096-7605



Fifth Third Bank                                George Gusses Co LPA                         Home Depot
PO Box 9013                                     33 S Huron St                                PO Box 9001010
Addison, Texas 75001-9013                       Toledo OH 43604-8705                         Louisville, KY 40290-1010



Lowes/Synchrony Bank                            Lyons Doughty & Velduis PC/PA                Midland Funding LLC
PO Box 530914                                   471 E Broad St 12th Fl                       PO Box 2001
Atlanta, GA 30353-0914                          Columbus, OH 43215-3806                      Warren MI 48090-2001



Midland Funding LLC                             Mr Cooper                                    Nationstar Mortgage LLC D/B/A Mr. Cooper
PO Box 2011                                     8950 Cypress Waters Blvd                     P.O. Box 619094
Warren, MI 48090-2011                           Coppell, TX 75019-4620                       Dallas, TX 75261-9741
                                                                                             8 75261-9094


Paolucci Law                                    Quantum3 Group LLC as agent for              Summa Health System
1 Cascade Pl. Ste. 1015                         Crown Asset Management LLC                   1077 Gorge Blvd
Akron, OH 44308-1129                            PO Box 788                                   Akron OH 44310-2408
                                                Kirkland, WA 98083-0788


Synchrony Bank                                  Synchrony Bank/JCP                           Synchrony Bank/ROS
c/o PRA Receivables Management, LLC             PO Box 960090                                PO Box 530916
PO Box 41021                                    Orlando, FL 32896-0090                       Atlanta, GA 30353-0916
Norfolk VA 23541-1021


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Derrick Rippy ust11                                  Kathryn A. Belfance                                  Keith Rucinski
Office of the U.S. Trustee                           Roderick Linton Belfance LLP                         Chapter 13 Trustee
H.M. Metzenbaum U.S. Courthouse                      50 S. Main Street 10th Floor                         One Cascade Plaza Suite 2020
201 Superior Avenue East Suite 441                   Akron, OH 44308-1849                                 Akron, OH 44308-1160
Cleveland, OH 44114-1234

Lisa J. Huet                                         Rebecca J. Sremack                                   William J. Huet
1609 Moreview Drive                                  Sremack Law Firm                                     1609 Moreview Drive
Akron, OH 44321-1932                                 2745 S. Arlington Road                               Akron, OH 44321-1932
                                                     Akron, OH 44312-4713


William M. Sremack
2745 S Arlington Road
Akron, OH 44312-4713




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)FIFTH THIRD BANK                                  (u)Nationstar Mortgage LLC d/b/a Mr. Cooper          (d)PRA Receivables Management, LLC
                                                                                                          PO Box 41021
                                                                                                          Norfolk, VA 23541-1021



End of Label Matrix
Mailable recipients     36
Bypassed recipients      3
Total                   39




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